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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 Patent Rightsholder Identified in Exhibit 1,                     )
                                                                  )
                                                                  )
                                                    Plaintiff,    )
                                                                  ) Case No. 1:24-cv-00683
 v.                                                               )
                                                                  )
 The Individuals, Partnerships, and                               )
 Unincorporated Associations Identified on                        )
 Schedule A,                                                      )
                                                                  )
                                                    Defendants.   )

                Plaintiff’s Motion to Seal and for Electronic Service of Process

NOW COMES Patent Rightsholder Identified in Exhibit 1 (“Plaintiff”), by and through its

undersigned counsel, and pursuant to Federal Rule of Civil Procedure 4(f)(3) requests this Court’s

authorization to serve process by electronically publishing a link to the Complaint and other

relevant documents on a website and by sending an e-mail to any e-mail addresses provided for

Defendants by third parties that includes a link to said website.

I.      Providing notice via electronic publication, along with any notice that Defendants

        receive from their platforms and payment processors, is reasonably calculated under

        all circumstances to apprise Defendants of the pendency of the action and afford them

        the opportunity to present their objections.


        Electronic service is appropriate and necessary in this case because the Defendants, on

information and belief: (i) have provided no contact whatsoever, or incomplete and/or false names

and physical address information in their registrations for the Seller Alias storefronts, in order to

conceal their locations and avoid liability for their unlawful conduct; and (ii) rely almost




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exclusively on electronic communications to communicate with their third-party service providers

and customers, demonstrating the reliability of this method of communication by which

Defendants may be apprised of the pendency of this action. See, Declaration of Christopher Ktenas

(the “Ktenas Declaration”) at ¶ 2. Authorizing service of process via e-mail and electronic

publication will benefit all parties and the Court by ensuring that Defendants receive the most-

prompt notice of this action, thus allowing this action to move forward expeditiously. Absent the

ability to serve Defendants in this manner, Plaintiff will almost certainly be left without the ability

to pursue a final judgment.

       Defendants accepting AliPay, PayPal and other payment processor accounts must provide

a valid e-mail address to customers for completing payment. See, Ktenas Decl. at ¶ 2. Moreover,

it is necessary for merchants, such as Defendants who operate online, to visit their Seller Alias

storefronts to ensure they are functioning and to communicate with customers electronically

including, necessarily, via email. As such, it is far more likely that Defendants can be served

electronically than through physical or other traditional service of process methods.              An

investigation of the e-commerce stores operating under the Seller Aliases identified in Schedule A

to the Complaint shows that few, if any, provide a complete physical address on the e-commerce

store. Ktenas Decl. at ¶ 3. In most instances, Defendants must provide an e-mail address to third-

party online marketplace platforms such as Amazon, eBay, Wish, and Walmart when registering

their account. Id. Moreover, unlike an e-mail address, which is typically verified by the third-

party online marketplace platforms, no verification typically occurs for physical addresses which

the registrant may provide. Id. Since an e-commerce store operator can input any physical address,

such addresses are usually false and/or are not where the e-commerce store operator is located. Id.




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As such, even if a physical address is available, it is not a reliable means for identifying and

locating Defendants. Id.

        Federal Rules allow this Court to authorize service of process by any means not prohibited

by international agreement as the Court directs. Fed. R. Civ. P. 4(f)(3); Gianni Versace, S.P.A. v.

Yong Peng, et al., No. 18-cv-5385 (N.D. Ill. Feb. 27, 2019) (citing, Rio Props., Inc. v. Rio Int’l

Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002)). The Ninth Circuit in Rio Properties held, “without

hesitation,” that e-mail service of an online business defendant “was constitutionally acceptable.”

Id., at 1017. The Court reached this conclusion, in part, because the defendant conducted its

business over the Internet, used e-mail regularly in its business, and encouraged parties to contact

it via e-mail. Id.

        Plaintiff has good cause to suspect the Defendants are all residents of China and/or

Hong Kong. The People’s Republic of China is a signatory to the Hague Convention on the

Service Abroad of Judicial and Extra-Judicial Documents in Civil and Commercial Matters (the

“Hague Convention”). Ktenas Decl. at ¶ 4. According to Article 1 of the Hague Convention, the

“convention shall not apply where the address of the person to be served with the document is not

known.” Id. United States District Courts, including Courts in this District, routinely permit

alternative service of process notwithstanding the Hague Convention. See e.g., Gianni Versace,

S.P.A. v. Yong Peng, et al., No. 18-cv-5385 (N.D. Ill. Feb. 27, 2019) (“Nor must Versace attempt

service by contacting the Chinese Ministry of Justice, as suggested by [defendant]. The plain

language of Rule 4 requires only that service be made as directed by the court and not prohibited

by international agreement.”); In re Potash Antitrust Litig., 667 F. Supp. 2d 907, 930 (N.D. Ill.

2009) (“plaintiffs are not required to first attempt service through the Hague Convention.”); see

also, Strabala v. Zhang, 318 F.R.D. 81, 114 (N.D. Ill. 2016) (authorizing alternative service




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pursuant to Fed. R. Civ. P. 4(f)(3)); Sulzer Mixpac AG v. Medenstar Indus. Co., 312 F.R.D. 329,

331-32 (S.D.N.Y. 2015) (same); In re LDK Solar Secs. Litig., 2008 WL 2415186, *2 (N.D. Cal.

Jun. 12, 2008) (same); Williams-Sonoma Inc. v. Friendfinder Inc., No. C06-06572 JSW, 2007 WL

1140639, at *2 (N.D. Cal. Apr. 17, 2007) (same); Levi Strauss & Co., v. Zhejiang Weidu Garment

Co., Ltd. et al., No. 16-cv-7824 (N.D. Ill. Nov. 17, 2016) (same); Nanya Tech. Corp. v. Fujitsu

Ltd., No. 1:06-cv-00025, 2007 WL 269087, *6 (D. Guam Jan. 26, 2007) (Hague Convention, to

which Japan is a signatory, did not prohibit e-mail service upon Japanese defendant); Popular

Enters., LLC v. Webcom Media Group, Inc., 225 F.R.D. 560, 562 (E.D. Tenn. 2004) (recognizing

that, while “communication via e-mail and over the internet is comparatively new, such

communication has been zealously embraced within the business community”). The Hague

Convention does not itself preclude service by e-mail, and the declarations to the Hague

Convention filed by China do not appear to expressly prohibit e-mail service. Ktenas Decl. at ¶ 4;

See e.g., Lexmark Int'l, Inc. v. Ink Techs. Printer Supplies, LLC, 295 F.R.D. 259, 261 (S.D. Ohio

2013) (“[v]arious courts have agreed that service by email is not prohibited by the Hague

Convention”); Facebook, Inc. v. Banana Ads, LLC, No. C-11-3619 YGR, 2012 WL 1038752, at

*3 (N.D. Cal. Mar. 27, 2012) (citing cases where courts held that service by e-mail did not violate

the Hague Convention as to foreign defendants, including in China). In addition, the law of the

People’s Republic of China does not appear to expressly prohibit electronic service of process.

Ktenas Decl. at ¶ 6.

       Furthermore, Rule 4 does not require that a party attempt service of process by other

methods enumerated in Rule 4(f) before petitioning the court for alternative relief under Rule

4(f)(3). Rio Props., 284 F.3d at 1014-15. As the Rio Properties Court explained, Rule 4(f) does

not create a hierarchy of preferred methods of service of process. Id., 284 F.3d at 1014. To the




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contrary, the plain language of the Rule requires only that service be directed by the court and not

be prohibited by international agreement. There are no other limitations or requirements. Id.

Alternative service under Rule 4(f)(3) is neither a “last resort” nor “extraordinary relief,” but is

rather one means among several by which an international defendant may be served. Id. Likewise,

Courts have confirmed that the Hague Convention does not displace Rule 4(f)(3). See, Gianni

Versace (citing, Nagravision SA v. Gotech Int’l Tech. Ltd., 882 F.3d 494, 498 (5th Cir. 2018))

(“Overlooking Rule 4(f)(3) entirely, Gotech argues that the service did not comply with the Hague

Convention and Rule 4(f)(1). This argument misses the mark because service was not effected

pursuant to the Hague Convention, and that agreement does not displace Rule 4(f)(3).”). Finally,

Court-directed electronic service pursuant to Rule 4(f)(3) is particularly appropriate in this case

where “there is a need for speed that cannot be met by following the Hague Convention

methods…” because of the injunctive relief sought by Plaintiff. Strabala v. Zhang, 318 F.R.D. 81,

114 (N.D. Ill. 2016) (citing, 4B FED. PRAC. & PROC. CIV. § 1134 (4th ed.)). Thus, service of

process via email is appropriate and may be authorized under Fed. R. Civ. P. 4(f)(3). MacLean-

Fogg Co. v. Ningbo Fastlink Equip. Co., No. 08 CV 2593, 2008 WL 5100414, at *2 (N.D. Ill. Dec.

1, 2008) (authorizing email service of process against Chinese defendants).

II.     Certain documents should be sealed.

        Plaintiff requests leave to file the following documents under seal: (i) Schedule A attached

to the Complaint, which lists the fully interactive, e-commerce stores operating under the seller

aliases and the corresponding e-commerce store URLs [Dkt. 3]; (ii) Exhibit 1 of the Complaint

which identifies Plaintiff and his issued patent [Dkt. 2]; and (iii) the Declaration of Plaintiff and

exhibits attached thereto, which include screenshot printouts showing the Seller Alias storefronts

offering to ship infringing products into this judicial district [Dkt. 2]. In this action, Plaintiff is




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requesting temporary ex parte relief based on an action for patent infringement. Sealing these

portions of the file is necessary, at the very outset of the case, to prevent the Defendants from

learning of these proceedings prior to the execution of the temporary restraining order. If

Defendants were to learn of these proceedings - including the identity of the Plaintiff Patent, or

Plaintiff itself (who can be immediately searched via USPTO.gov’s patent search system, to the

same effect) prematurely, such as from sellerdefense.cn or other court monitoring services, the

likely result would be the destruction of relevant documentary evidence and the hiding or

transferring of assets to foreign jurisdictions, which would frustrate the purpose of the underlying

law and would interfere with this Court’s power to grant relief. Once the temporary restraining

order has been served on the relevant parties and the requested actions are taken, Plaintiff will

move to unseal these documents.

WHEREFORE, Plaintiff respectfully requests:

A. this Court’s permission to serve Defendants via e-mail and electronic publication, including

    authorization to serve Defendants electronically and provides for issuance of a single original

    summons1 in the name of “The Partnerships and all other Defendants identified in the

    Complaint” that shall apply to all Defendants in accordance with Federal Rule of Civil

    Procedure 4(b); and


B. Sealing [Dkts. 2 and 3].

Dated: January 31, 2024




1
 The Advisory Committee Notes to the 1993 Amendment to Rule 4(b) states, “If there are multiple defendants, the
plaintiff may secure issuance of a summons for each defendant, or may serve copies of a single original bearing the
names of multiple defendants if the addressee of the summons is effectively identified.” Fed. R. Civ. P. 4(b) advisory
committee notes (1993) (emphasis added).


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                                               Respectfully,

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